         Case 2:23-cr-00146-NR Document 78-1 Filed 02/01/24 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     :       2:23-CR-00146-NR-1
                                             :
v.                                           :       Filed Electronically via ECF
                                             :
BRIAN DIPIPPA,                               :
                                             :       HONORABLE JUDGE
                      DEFENDANT.             :       J. NICHOLAS RANJAN


                                             ORDER


       AND NOW, this ___ day of ______________, 2024, it is hereby ORDERED that the

Defendant’s Motion For Disclosure of F.R.E. 404(b) and 609 is GRANTED. IT IS FURTHER

ORDERED that the Government produce evidence that it intends to use under Federal Rule of

Evidence (404(b) and 609 ____ days prior to the trial of this matter.




                                             _____________________________________
                                             J. NICHOLAS RANJAN, JUDGE
                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF PENNSYLVANIA
